                     Case 1:20-cr-00080-RJA-JJM Document 26 Filed 07/15/20 Page 1 of 1

President/CEO                                                                                   Freedom Village
 Anne D. Constantino                                                                             6331 Inducon Drive East
                                                                                                 Sanborn, NY 14132
Terrace House                                                                                    716-250-1860
 291 Elm St.                                                                                     Fax 716-731-1142
 Buffalo, NY 14203
 716-854-2444                                                                                   Delta Village
 Fax 716-854-4671                                                                                6302 Inducon Drive East
                                                                                                 Sanborn, NY 14132
Horion Village                                                                                   716-638-9222
 6301 Inducon Drive East                                                                         Fax 716-638-9221
 Sanborn, NY 14132
 716-731-2030                                                                                   Aurora Village
 Fax 716-731-3010                                                                                6298 Inducon Drive East
                                                                                                 Sanborn, NY 14132
                                                                                                 716-219-8700
                                                                                                 Fax 716-219-8777




July 13, 2020                                                                                  Terrace House
                                                                                               291 Elm Street
                                                                                Re: Courtland Renford
                                                                                               Buffalo, NY 14203
                                                                                               716-854-2444
                                                                                DOB: 07/20/1999Fax 716-854-4671
                                                                                NYSID: UNKNOWN


To Whom It May Concern:

This letter is to inform you that Courtland Renford has been approved for assessment at Terrace House and
will be given the next available opening. The date and time is still to be determined. During his stay at Terrace
House he will be further assessed for long term treatment at Horizon Village. He will need to have his own
transportation to Terrace House and present with Photo ID.

If approved for Horizon Village, treatment is individualized therefore residents are not given a discharge date
at the time of admission. Their length of stay will be determined based on their progress and treatment team
recommendations.

If you need any further assistance with this matter please feel free to contact an Admissions Counselor,
Monday-Friday, 8:00am – 4:30pm at (716) 854-2444 x 2285 or 2213. Thank you in advance for your attention
to this matter.



Best Regards,




Sara Perez
Horizon Health Services
Senior Residential Admissions Specialist
Phone: (716) 854-2444 ext.2285
Fax: (716) 418-8423
sperez@horizon-health.org
